JSA4 (Rey. UB/IT) CIVIL COVER SHEET
TheJS44 civil cover shect and ihe information contained herein-neither replace nor supplément-the filing and service of pleadings or olher papers-as required by lay, excep! ag
provided by loeal ‘rules of courl. This fori, approved bythe Judicial Conference of the United, States in September (974, 1¢ required forthe'use of the Clérk of Court forthe
purpose oF iniialing. thir divil dockel sheet. (SEE INSTRUCTIONS ON.NENT PAGE OF THIS F MOORS. i

‘1. (a). PLAINTIFFS DEFENDANTS

Stephen Jones ‘Synergies3 TEC Services, LLC

(b) County-of Residence of First Listed Plaritif®
PERCEPT IN LES. SLAINTIVE CASES,

County of Residence of First-Listed Defendant, Dallas County, TX.
(IN US. PLAINTIFF CASES ONEY)
NOTE INL. AND CONDEMNATION CASES, USE THEL OCATION OF
THE TRACT-OF LAND INVOLVED.

() Atlomeys (Firat Name, Address, aed Telephome Sumber} Allomeys ff Knewn)

Mark Potashnick, Weinhaus & Potashnick, 11500 Olive Blvd., Suite 133, | Robert Kaiser, Jeremy Breriner, Armstrong Teasdale, 7700 Fofsyth
St, Louis, MO,.63144, (314) 997-9150, Eli Karsh; Liberman, Goldstein & | Bivd., Suite 1800, St.. Louis, Mo, 63105, Jay Aidis, Bracewell LLP,
Karsh, 230.S. Bemiston, Suite1200: Clayton, MO, (314)-862-3333 711 Louisiana St # 2300, Houston, TX 77002, (713) 223-2900.

Ik. BASIS OF JU RISDICTION Place ane NT satiny Box Onl Ill. CITIZENSHIP OF PRINCIPAL PARTIES (lace.ant “¥" fa Cne Box fir Heidt |

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of Business.in This State

1 2 U.S. Government 4 Diversity, Cittzen of Another State. 2 1 2 Incosporated enc Principal Place os a8

Defendant fnedtoate. Cifizenship of Partres in fens i of Business In, Another State
Citizen or Subject-dfa 3 1 3. Foreign Nation 6 6.

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te CONTRACT: ORTS:: STORK ELTERE/PENALEY: OTHER:STATUTE
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Cite the U5 .Civil Statute under which you are filing (De or cite Jurisdictional statsttes antes diversity.
4 ‘ 29 U.S.C. §§ 207 & 216
VI. CAUSE OF ACTION Brief description of cause:
Failure io pay overtime wages
YU. REQUESTEDIN & CHECK iF THIS 1S A‘;CLASS ACTION DEMAND S: ‘CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, E.RCvP JURY DEMAND: S@ Yes O1No
VIII, RELATED CASE(S)
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IF ANY ee *  uDGE L wa Loe DQGIKET NUMBER oo eee

FSS Wee

“FOR: OFFICE USE OALY

RECEIPTS AMOUNT: APPLYING HEP iupGe ‘MAG. JUDGE

18-4 Reverse, (Rev, 06/17}

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civilcover sheet and the information contained hetein neither replaces nor supplements the filings and seivice of pléading or other papers ds
required by lay, execpl ag provided by local rules af court. This form; approved by the Judicial Conference of the United States-in Seplember 1974, is
required for the use-of the Clerk of Court for the purpose of initiating the civil docket sheet: Consequenily., a civil cover shee is submitted to the Clerk of
Courl fr each civil complaint filed. Phe allarney filing a-case-should complete ihe form as follows:

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Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant: If the plaintiff or defendant is a government agency; ise
only the fuli name or standard abbreviations, Lf the plaintiff or defendant is an official wilbin-a governmient agency, identity first the agency and.

‘then the official. giving both name and title:

County of Residence. For each. civil case Tiled, except tS. plaintiff. cases, enter the name of the county where the first listed plaintiff resides at the
lime of filing. In U.S. plaintiffcases, enter dic name.of the county in which the first listéd defendant. resides at thé-time of Filing. (NOTE: In land
condemnation cases, the county of residence-of the “defendant” is the location of the tract of land involved}

Altorfeys. Enter thé firm name, address; telephone number, and attorney of record. [fthére are several attorneys, list-them-oni, an attachment, noting
in this section "{seé attachment)", ,

Jurisdiction. The basis of jurisdiction ts set forth-under Rule 8(a),-F.R.Cv.P., which requires that jurisdictions be shown in pleaditigs. Place-an "X"
in one of thé boxes, If there ig more than, one basis‘of jurisdiction, precedence is given-in the order shown below.
United States. plaintiff. (1) Jurisdiction. based on 28 ULS.C. 1345 and 1348, Suits by agencies and officers: of the 1 United States are-included here.

United States defendant. (2) When the: plaintiff'is: suing ‘the United: States, its offieers-or agencies, place ’ an “X" in this.box,

Federal question. (3) This refers 1o-suits under:28 U.S.C. 1331, where jurisdiction arises under the Constitution-of the United Staies, an amendment
to the Constitution,.an act of Congress ora treaty of the United States, In cases avhere the U,S. is a- party, .the LS, plaintiff or defendant code lakes-

‘/precedetice, and box | or 2 should be riiarked.

Diversity of cane (4) This refers to suiisainder.28- U.S.C, (332, where parties are-citizens of different states. When Box 4 ig checked, the
citizenship of the different parties must be: checked. (See Section TH below; NOTE: federal question actions take precedence over div ersity
cases.)

Residence (citizenship) of Pr incipal Parties. ‘This section of the JS. 44s 10 be.compleied if diversity of citizenship was indicated above, Mark this

-section for.cach principal party,

Nature of Suit. Place an "X" in the appropriate box. If there are.multiple nature of suit codes-associated with the case, pick the nature of suit code

‘that ig most applicable. Click hére iér: Nature of Sutt Code Descriptions.

Origin, Place. an “Xin one of the seven boxes,

Original Proceedings. (1) Cases which.originate: i the United States district courts.

Removed frem State Court. (2) Proceedings initlated in'state couris may. be removed to-the district courls under Title. 28 U.S.C, Section 1441.
Wher the petition. for removal is granted, check-this box,

Remanded from Appellate Courl, (3) Check this box.for cases remanded to the district court for further action, Use ihe.date of remand.as the filing
date,

Reinstated or Reopened. (4) Check-this:‘box. for cases reinstated or reopened in the district court. Use the reopening daté-as the filing date.

Transférred from Another District. (5) For cases-iratisferred under Title 28 U.S.C. Section 1404(9). De not use this for within districttransfers or
miultidisirict litigation transfers.

Multidistriet Litigation ~ Transfer. (6) Check ihis box when a multidigtrici case is transferred into the district under aithority of Title 28°U.S.C.

Section 1407.
Multidistrict Litigation — Direet File. (8) Check this box when a muilidistricl case is filed in ihe same district as the Master MDI. docket.

‘PLEASE NOTE THAT’THERE 18.NOT AN OREIGIN CODE 7. ‘Ongin Code 7 was used lor historical récords and is no longer rélevant due to

changes in statue.

Cause-of Action. Report the civil statute directly related to the cause. of action and give a bricfdeseription of the cause. Do not cite jurisdictional

‘statutes unfess diversity. Example:1S. Civil Statute: 47 USC $53 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place aX" in this bos. if you are filing a class-action under Rule 23, FRiCv.P.
Demand. In this space-enter-the actual dollar amount being-demanded or indicate other demand, such as a.prcliminary injunction,
Jury. Demand. Check the appropriate box to indicate whether or not a jury is being denianded.

Related Cases. This section-of the JS 44 is used to reference related pending cases, ifany. If there are related pending cases, insert the docket
numbers aid (he corresponding judge names for such cases.

Date and Atterney Signature: Date and sign the civil cover sheet.
